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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

 ANDREW PERRONG,on behalf of himself and
 others similarly situated,

                               Plaintiff,
                                                             No. I9-CV-3871

                                                             Honorable Sara L. Ellis
 PROSPER TRADING ACADEMY,LLC and
 SCOTT BAUER,

                               Defendants.

               DEFENDANT SCOTT BAUER'S MEMORANDUM
      IN SUPPORT OF HIS MOTION TO DISMISS PURSUANT TO RULE 12fb¥61

       Plaintiff Andrew Perrong presents a bare and conclusory complaint against Defendant

Scott Bauer ("Mr. Bauer"). On June 10, 2019, Plaintiff filed a three-count complaint against

Defendant Prosper Trading Academy, LLC ("Prosper") and Mr. Bauer, alleging that both

Defendants violated the Telephone Consumer Protection Act, 47 U.S.C. § 227,("TCPA"). See

Complaint at Dkt. No. 1. However,Plaintiffs lone allegation against Mr. Bauer is a conclusory,

unsupported statement that "Mr. Bauer both personally participated in and authorized the

automated telemarketing conduct." Id., 35. Under both the Supreme Court's instruction in

Twombly and Iqbal and the long-standing pleading standards of this district. Plaintiff cannot drag

Mr. Bauer into this matter with just the bald conclusion that he participated and authorized the

alleged conduct. Rather, Plaintiff must support these conclusions with properly alleged facts. He

has failed to do so, as the Complaint is devoid of any allegations supporting the legal conclusion

that Mr. Bauer violated the TCPA. Accordingly, Plaintiffs Complaint against Defendant Bauer

should be dismissed.
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                                PLAINTIFF'S ALLEGATIONS

        Plaintiff alleges that on July 6,2018, he texted Prosper in order to receive a free stock tip.

Id., ^ 49. Next, he alleges that he responded "STOP" to Prosper after he received the free stock

tip. Id., H 55. Plaintiff contends, however,that on May 20,2019 and May 22,2019, he received a

text message from Prosper. Id., H 59-61. As a result. Plaintiff believes that both Prosper and

Mr. Bauer violated the TCPA. However, Plaintiff does not allege any facts concerning how

Mr. Bauer—as opposed to Prosper—violated the TCPA. Rather, he provides a single, conclusory

allegation that Mr. Bauer "both personally participated in and authorized the automated

telemarketing conduct." M,^ 35. He provides no allegations to support this statement nor does

he even attempt to explain how he concluded that Mr. Bauer supposedly participated in and

authorized the automated telemarketing conduct.

                                           ARGUMENT

I.     THE LEGAL STANDARD ON A MOTION TO DISMISS.

       A motion to dismiss for failure to state a claim under Federal Rule of Civil Procedure

12(b)(6) tests the legal sufficiency of a claim. A court may dismiss a complaint under Rule

12(b)(6) when it does not contain enough facts to state a claim for relief that is plausible on its

face. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). "A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S.662,
663,129 S.Ct. 1937,1949(2009). In Iqbal,556 U.S.662(2009),the United States Supreme Court
clarified the standard for determining whether a plaintiff has stated a claim upon which relief can
be granted. There, the Supreme Court held that a complaint must contain more than a simple
"unadorned, the-defendant-unlawfully-harmed-me accusation." Id. at 678 (citing Twombly, 550
U.S. at 555). As the Supreme Court explained,"[a] pleading that offers 'labels and conclusions'
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or 'a formulaic recitation ofthe elements ofa cause ofaction will not do.'" Id.(quoting Twombly,

550 U.S. at 555); see also Brooks v. Ross, 578 F.3d 574, 581 (7th Cir. 2009). "Nor does a

complaint suffice ifit tenders 'naked assertion[s]' devoid of'further factual enhancement.'" Iqbal,

556 U.S. at 678 (quoting Twombly, 550 U.S. at 557). "[0]nly a complaint that states a plausible

claim for reliefsurvives a motion to dismiss." Id. at 679. A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged. Id. at 678 (citations omitted)(quoting Twombly,

550 U.S. at 556-57); see also Cleversafe, Inc. v. Amplidata, Inc., No. 11 C 4890, 2011 WL

6379300 (N.D. 111. 2011). Where a complaint pleads facts that are "merely consistent with" a

defendant's liability, it "stops short ofthe line between possibility and plausibility of'entitlement

to relief.'" Id.

II.     PLAINTIFF HAS FAILED TO ADEQUATLY PLEAD MR.BAUER VIOLATED
        THE TCPA.

        A.         Plaintiff Must Plead Facts That Demonstrate That Mr.Bauer Had Direct,
                   Personal Participation in or Personally Authorized the Conduct That
                   Purports to Have Violated the TCPA.

        Unless Plaintiff alleges facts that Mr. Bauer committed, directly participated in, or

otherwise personally authorized, the violation of the TCPA, Plaintiffs claims against Mr. Bauer

must fail. Officers or employees of a company are generally not liable for statutory violations

based solely on their employment status. See, e.g.. Savanna Grp., Inc. v. Trynex, Inc., No. 10 C

7995, 2013 WL 4734004, at *8(N.D. 111. Sept. 3, 2013)(finding the head of marketing not liable
under TCPA because the allegations were based solely on his status and stating that a different

finding would run afoul of the principal that a corporate officer may not he liable for corporate
acts based purely on his status in a corporation).
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        For Mr. Bauer to be found individually liable, Plaintiff would have to show that Mr. Bauer

directly authorized or personally engaged in conduct that clearly violated the TCPA. Mais v. Gulf

Coast Collection Bureau, Inc., No. 11-61936-ClV-SCOLA, 2013 WL 1283885, at *4 (S.D. Fla.

Mar. 27,2013)(finding that an individual officer was not liable in TCPA matter where there were

no facts that the individual officer plainly violated the TCPA or that he had anything personally to

do with the calls made to plaintiff). Plaintiff does not allege any such facts and instead makes the

bare legal conclusion that Mr. Bauer personally participated in and authorized the automated

telemarketing conduct.

        Recently,the Northern District ofIllinois determined that a corporate officer was not liable

under the TCPA where there were no alleged facts regarding the individual having a direct and

personal participation or authorization in a TCPA violation. Arwa Chiropractic, P.C. v. Med-Care

Diabetic & Med. Supplies, Inc., No. 14 C 5602, 2019 WL 527497, at *6-7(N.D. 111. Feb. 11,

2019). In Arwa,the court evaluated the standard that a corporate officer"may be personally liable

imder the TCPA if he had direct, personal participation in or personally authorized the conduct

found to have violated the statute and was not merely tangentially involved." Id.(citing Physicians

Healthsource, Inc. v. A-S Medication Sols. LLC, 324 F. Supp. 3d 973, 983(N.D. 111. 2018)). In

Arwa, the only facts alleged were that the individual officer "knew" or "was aware" of the

company's procedures. Id. However, the court stated that "mere knowledge is not enough;

'[djirect participation or authorization' is required." Id.

        In fact, courts refuse to impose personal liability on a corporate officer for a marketing

operation unless he/she personally participated in it. See, e.g.. Savanna Grp., 2013 WL 4734004

at *8(finding no personal liability where corporate officer merely signed a check and did not know

what it was for); Mais, 2013 WL 1283885 at *4 (concluding that there was "no evidence" that
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corporate officer had "anything personally to do with the calls made to Plaintiff). Here, the

Complaint is devoid ofany allegations which, even if true, would impose liability upon Mr. Bauer

under the TCPA. Indeed, Plaintiff alleges no facts to suggest that Mr. Bauer authorized or

personally engaged in the marketing operation.

        B.     Iqbal and Twombly Require More Than a Conclusory Allegation that Recites
               the Statute.

        In the absence ofany factual allegations that would make the elements ofhis claims against

Mr.Bauer plausible, merely reciting that Mr. Bauer "both personally participated in and authorized

the automated telemarketing conduct[,]" is insufficient to survive a motion to dismiss. Iqbal, 556

U.S. at 678 ("formulaic recitation of the elements" is not entitled to an assumption of truth);

Brooks, 578 F.3d at 581. The Seventh Circuit has explained.

               We imderstand the Court in Iqbal to be admonishing those plaintiffs
               who merely parrot the statutory language of the claims they are
               pleading (something that anyone could do, regardless of what may
               be prompting the lawsuit), rather than providing some specific facts
               to ground those legal claims,that they must do more. These are the
               plaintiffs who have not provided the "showing" required by Rule 8.

Brooks, 578 F.3d at 581.

       Plaintiffs only allegations against Mr. Bauer are based on the premise that "[mjany courts
have held that corporate actors can be individually liable for violating the TCPA where they had

direct, personal participation in or personally authorized the conduct found to have violated

the statute." Compl., Dkt. No. 1,1133 (citing See, e.g.,Jackson Five Star Catering, Inc. v. Beason,
No. 10-10010, 2013 U.S. Dist. LEXIS 159985, *10(E.D. Mich. Nov. 8, 2013)). Yet, the only

allegation that Plaintiff makes against Mr. Bauer is the bare legal conclusion that"Mr. Bauer both

personally participated in and authorized the automated telemarketing conduct[.]" Plaintiff has
simply failed to provide any type ofsupport that Mr. Bauer had direct, personal participation in or
personally authorized the alleged conduct. Instead, Plaintiff attempts to formulaically recite the
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elements he deems to be supportive ofthe law of personal liability under the TCPA. As this Court

has recently cited, "[a] claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged." Ovenvell Harvest Ltd. v. Widerhorn, No. 17 C 6086,2019 WL 398700, at *3(N.D. 111.

Jan. 31, 2019)(granting motion to dismiss)(quoting Iqbal, 556 U.S. at 678); Schreiner v. U.S.

Smokeless Tobacco Co., No. 17 C 7530, 2019 WL 1454529, at *4(N.D. 111. Apr. 1,2019)("The

Court need not consider [...] legal conclusions when considering the viability ofPlaintiffs'claims,

particularly where they are not supported by factual allegations."). Here,Plaintiff has not pled any

factual content that allows this Court to draw a reasonable inference that Mr. Bauer is liable for

violating the TCPA. It would be especially inappropriate to require an individual to defend himself

based on an unsupported conclusory allegation. As a result. Plaintiff has failed to state a claim

against Mr. Bauer for which relief could be granted, and PlaintifTs Complaint against Defendant
Bauer should be dismissed.

                                         CONCLUSION

       Wherefore, for all ofthe foregoing reasons. Plaintiffs Complaint against Defendant
Bauer should be dismissed.

Dated: July 23,2019                           Respectfully submitted,

                                              SCOTT BAUER

                                              By:    /s/ Richard A. Saldineer
                                                     One of His Attorneys

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                            CERTIFICATE OF SERVICE


       I, Richard A. Saldinger, an attorney, hereby certify that on this 23rd day of July

2019, I electronically filed the foregoing Defendant Scott Bauer's Memorandum in

Support of His Motion to Dismiss Complaint with the Clerk of the Court using the

CM/ECF system, which will automatically send email notifications of such filing to all

registered parties and counsel.

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                                                   /s/ Richard A. Saldinger
